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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                                 Case No. 5:23cr21/TKW

MATTHEW OTTOVIO ALIFFI
______________________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, MATTHEW OTTOVIO ALIFFI, to Counts One and Three of the

Indictment is hereby ACCEPTED. All parties shall appear before this Court for

sentencing as directed.

       DONE and ORDERED this 25th day of September 2023.

                                  T. Kent Wetherell, II
                               T. KENT WETHERELL, II
                               UNITED STATES DISTRICT JUDGE
